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                                      IPP International U.G. Declaration Exhibit A
                                        File Hashes for IP Address 32.215.136.91

ISP: Frontier Communications
Physical Location: Wethersfield, CT



Hit Date UTC           File Hash                                             Title
09/30/2016 08:02:41    7917BB4D29235155599A44B364FD41DDA09054C4              Aurora Wants It All

09/30/2016 08:02:41    7917BB4D29235155599A44B364FD41DDA09054C4              Aurora Wants It All

09/30/2016 08:02:41    7917BB4D29235155599A44B364FD41DDA09054C4              Aurora Wants It All

09/30/2016 08:02:41    7917BB4D29235155599A44B364FD41DDA09054C4              Aurora Wants It All

09/30/2016 08:01:13    7917BB4D29235155599A44B364FD41DDA09054C4              The Call Girl

09/30/2016 08:01:13    7917BB4D29235155599A44B364FD41DDA09054C4              The Call Girl

09/30/2016 08:01:13    7917BB4D29235155599A44B364FD41DDA09054C4              The Call Girl

09/30/2016 08:01:13    7917BB4D29235155599A44B364FD41DDA09054C4              The Call Girl

09/11/2016 11:30:53    1F6DE1FA3F2EE1D56C908C08643E46CD474C2128              Love Is Sexy

09/11/2016 11:17:50    1E10476D82581FA264DD3D5EC9771D2F49F9A677              Love Her Madly

09/04/2016 14:10:41    53D0F68EF15116A3DAC7038B6A441D064D576B03              California Surf Fever

06/23/2016 00:24:18    DD36A75D6AA96D185FF7B49FFF2A462620FD41A2              Good Morning Melissa

06/10/2016 10:55:43    3CD4FFAF5440DFE6A6E9BE4946542C08ECB5C417              Threesome With a View

06/01/2016 10:25:31    AD478D7FB2ADE03C23216220C34BB862B84639BD In the Garden of Ecstasy

06/01/2016 10:25:10    5CF74DDFF817F18342D01A1E88D2053BB766C91E              The Artiste

05/17/2016 03:06:01    3BEA091FF51380743F7EDF2F42E49503CD94BCC2              Deep in Love

05/14/2016 12:32:44    1B18D50812B58182D5E73C2DF44A124A48B3A479              Sex At The Office

05/14/2016 12:32:12    0795957EB77B0C2ECD7C669292F5FD28BC3629CA              Four Way In 4K

05/14/2016 12:18:07    80887678F3F20DEED3580EBFDF7E550F96CE32E6              Czechmates

05/14/2016 12:03:05    32E9D481931BFD849A8C139D8428C05B80402440              Inside Caprice

03/31/2016 10:57:12    29845BE64D918296DC82160A76CE0B64B88014D3              Unbelievably Beautiful

03/09/2016 12:33:54    10BE84D5CCE102DBA37E4BD7B1583137248BC0BA              Heart and Soul

                                                      EXHIBIT A
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Hit Date UTC          File Hash                                  Title
02/17/2016 11:58:55   E2C405FAA5D9CC9DC4ACF936A2A6F7813AC00248   Among The Wildflowers

12/09/2015 12:23:36   3A40DA866D2AB28621EAD54B43B8A03E170FBF01   Dressed to Thrill


Total Statutory Claims Against Defendant: 18




                                               EXHIBIT A
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